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                        IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBA


UNITED STATES OF AMERICA                  ) CRIMINAL NO.
                                          )
v.                                        ) VIOLATION:
                                          )
BRIGETTE ROBERTSON,                       ) 18 U.S.C. § 242
                       Defendant.         ) (Deprivation of Rights under Color of Law)


                                        INFORMATION


       The United States charges:


       On or about June 24, 2023, in the District of Columbia, the defendant,
                                      BRIGETTE ROBERTSON

       While acting under color of law as a Special Police Officer employed by Specific

Protection Services, LLC to provide law enforcement services, willfully deprived T.F. of the right,

secured and protected by the Constitution and laws of the United States, to be free from an

unreasonable seizure, which includes the right to be free from the use of unreasonable force by a

law enforcement officer. Specifically, ROBERTSON assaulted T.F. by stomping on her face

without legal justification.

                  (All in violation of Title 18, United States Code, Section 242
                          (Deprivation of Rights Under Color of Law)
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DATED: June 11, 2025




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